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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

CODY SCHONES and LEO CALVILLO,                  §
On Behalf of Themselves and All Others          §
Similarly Situated,                             §
                                                §
                      Plaintiffs,               §
                                                §   CIVIL ACTION NO. 5:16-cv-00483
v.                                              §
                                                §
BIG T ENERGY SERVICES, LLC, and                 §
APACHE CORPORATION,                             §
                                                §
                      Defendants.               §

          MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT AND
         DISMISSAL WITH PREJUDICE OF PLAINTIFFS’ CLAIMS AGAINST
                    DEFENDANT APACHE CORPORATION

       Plaintiffs Cody Schones and Leo Calvillo (the “Plaintiffs”) move this Court to dismiss

with prejudice their claims against Defendant Apache Corporation (“Defendant Apache”), and

would respectfully show the Court as follows:

       1.      Plaintiffs, along with Opt-in Plaintiffs Robert J. Bravo, Stephen L. Kirchner,

Wyatt Kirchner, and Michael Owens, II (the “Opt-in Plaintiffs”), have reached a confidential

agreement with Defendant Apache to resolve all of their claims against Defendant Apache.

Plaintiffs and Defendant Apache, through their counsel, are available for a telephone conference

at the Court’s request to discuss the terms of such agreement if the Court so chooses.

       2.      Plaintiffs seek entry of an order, based on such agreement described in paragraph

1 above, dismissing their claims with prejudice as to Defendant Apache only. This Motion does

not request dismissal of Plaintiffs claims as to Defendant Big T Energy Services, LLC.
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       3.      Counsel for Defendant Apache confirmed its lack of opposition to this motion in

conversations and communications with the undersigned counsel.

       WHEREFORE, Plaintiffs move for entry of an Order Approving Settlement Agreement

and Dismissing with Prejudice Plaintiff’s Claims Against Defendant Apache Corporation, a form

for which is attached hereto.

                                                  Respectfully submitted,

                                                  By:     s/Melinda Arbuckle
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                                                  ATTORNEYS FOR PLAINTIFFS
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                            CERTIFICATE OF CONFERENCE

       I hereby certify that I conferred with counsel for Defendant Apache who is unopposed to
the submission of this Motion.

                                                   s/Melinda Arbuckle
                                                   Melinda Arbuckle

                               CERTIFICATE OF SERVICE

       On February 5, 2018, I electronically submitted the foregoing document with the Clerk of
Court for the United States District Court, Western District of Texas using the CM/ECF method.
I hereby certify that I have served all counsel of record electronically.

                                                   s/Melinda Arbuckle
                                                   Melinda Arbuckle
